CASE 0:22-mj-00530-BRT Doc. 2-1 Filed 06/27/22 Page 1 of 6
CASE 0:22-mj-00530-BRT Doc. 2-1 Filed 06/27/22 Page 2 of 6
CASE 0:22-mj-00530-BRT Doc. 2-1 Filed 06/27/22 Page 3 of 6
CASE 0:22-mj-00530-BRT Doc. 2-1 Filed 06/27/22 Page 4 of 6
CASE 0:22-mj-00530-BRT Doc. 2-1 Filed 06/27/22 Page 5 of 6
CASE 0:22-mj-00530-BRT Doc. 2-1 Filed 06/27/22 Page 6 of 6
